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                                   UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS




ALARIC STONE, et al.,                                   §
            Plaintiff                                   §
                                                        §
                                                        §
                      v.                                §     Case No. 4:22-cv-00825
                                                        §
                                                        §
ALEJANDRO N. MAYORKAS, et al.                           §
           Defendant                                    §


                           APPLICATION FOR ADMISSION PRO HAC VICE
                            (Complete all questions; indicate “N/A” if necessary.)

I.        Applicant is an attorney and a member of the law firm of (or practices under the name of)

Thomas More Society                                                                            , with offices at

309 W. Washington St., Suite 1250
(Street Address)

Chicago                                                       IL                       60606
(City)                                                       (State)                 (Zip Code)

(662) 255-9439                                                (312) 782-1887
(Telephone No.)                                               (Fax No.)




II.       Applicant will sign all filings with the name Stephen M. Crampton                                    .


III.      Applicant has been retained personally or as a member of the above-named firm by:
                                          (List All Parties Represented)

Alaric Stone, Eric Jackson, Michael Marcenelle




to provide legal representation in connection with the above-styled matter now pending before the United
States District Court for the Northern District of Texas.
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IV.      Applicant is a member in good standing of the bar of the highest court of the state of
                                                                                                      For Court Use Only.
                                                                                                      Bar StatusVerified:
                     Mississippi                      , where Applicant regularly practices law.      _______________


                    9952
Bar license number:_______________                          April 27, 1995
                                            Admission date:____________________________

Attach to this application an original certificate of good standing issued within the past 90 days from the
attorney licensing authority in a state in which you are admitted to practice (e.g., State Bar of Texas).


V.       Applicant has also been admitted to practice before the following courts:

Court:                                    Admission Date:                            Active or Inactive:

Tennessee                                 4/28/1986                                  Active

Texas                                     5/10/1985                                  Inactive

Fourth Circuit Court of Appeals                                                      Active

Fifth Circuit Court of Appeals                                                       Active


VI.    Applicant has never involuntarily lost, temporarily or permanently, the right to practice before
any court or tribunal, or resigned in lieu of discipline, except as provided below:
N/A.




VII.     Applicant has never been subject to grievance proceedings or involuntary removal proceedings—
regardless of outcome—while a member of the bar of any state or federal court or tribunal that requires
admission to practice, except as provided below:
N/A.




VIII.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses, except
as provided below (omit minor traffic offenses):
N/A.
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